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                                UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF TEXAS

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                                                               :
HOWMEDICA OSTEONICS CORP., a New                               :
Jersey Corporation and wholly owned subsidiary of :
STRYKER CORP.,                                                 :
                                                               :     4:17-cv-00742
                  Plaintiff,                                   :
                                                               :   Hon. Gray H. Miller
         - against -                                           :
                                                               :
BIOMET SOUTH TEXAS, INC., a Texas                              :
Corporation; ZIMMER U.S., INC. d/b/a ZIMMER :
BIOMET, a Delaware Corporation; and BIOMET :
ORTHOPEDICS, LLC, an Indiana Limited                           :
Liability Company.                                             :

                 Defendants.

--------------------------------------------------------------
                          PLAINTIFF’S RESPONSE IN OPPOSITION TO
                                DEFENDANTS’ MOTION TO DISMISS

        Plaintiff Howmedica Osteonics Corp., a wholly owned subsidiary of Stryker Corporation

(“Stryker”), by and through its attorneys, states the following for its Response in Opposition to

Defendants Biomet South Texas, Inc., Zimmer US, Inc. d/b/a/ Zimmer Biomet, and Biomet

Orthopedics, LLC’s (collectively, “Defendants”) Motion to Dismiss.

                                            I. INTRODUCTION

        Stryker properly brought suit against Defendants due to their tortious interference with

both (1) Stryker’s agreements with its former employees and (2) Stryker’s relationships with its

longstanding customers. Simply stated, Defendants are directing and incentivizing Stryker’s

former employees to breach their agreements with Stryker, then reaping the benefits of those

breaches when Stryker’s former employees solicit those longstanding customers to purchase

Defendants’ competing products instead of Stryker products. Defendants’ Motion to Dismiss
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should be denied because there is no legal requirement to include those former employees as

defendants in this proceeding. Defendants’ Motion must also be denied because Stryker’s claims

for tortious interference with prospective economic advantage and corporate raiding are proper

under Texas law.

       Stryker employed Andrew Ruggles (“Ruggles”) and Carson Combs (“Combs”) as sales

representatives in the Houston, Texas area - Ruggles was terminated on November 14, 2016 and

Combs resigned on November 18, 2016. (Dkt. 1 at ¶¶ 27, 28.)1 At the time of their separation

from Stryker, Ruggles and Combs were employed as Foot and Ankle sales representatives,

selling Stryker’s portfolio of foot and ankle surgical products to podiatrists and foot and ankle-

trained surgeons in Houston. (Id. ¶ 30.) As part of their employment with Stryker, Ruggles and

Combs signed agreements which contained reasonable post-employment restrictive covenants,

including non-competition, non-solicitation, and confidentiality provisions. (Id. ¶ 33.)

       Shortly after their separation from Stryker, Ruggles and Combs began working for

Defendants in the Houston area, servicing the same customers and surgeons whom they serviced

on behalf of Stryker. (Id. ¶¶ 61, 62.) Defendants are Stryker’s direct competitors, and were aware

of Ruggles’ and Combs’ restrictive covenants before hiring them. (Id. ¶ 91.) Despite their

knowledge of those agreements, Defendants specifically directed and incentivized Ruggles and

Combs to breach their Stryker agreements and solicit their former surgeon customers to purchase

Defendants’ competing products instead. (Id. ¶ 92.) Ruggles and Combs happily obliged, and

managed to turn hundreds of thousands of dollars’ worth of business away from Stryker to

Defendants in just a few weeks, before Stryker filed suit against Defendants. (Id. ¶¶ 94.)



1
The facts alleged in Stryker’s Complaint are accepted as true for purposes of ruling on
Defendants’ Rule 12 Motion. Ashcroft v. Iqbal, 556 U.S. 662, 680 (2009).



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       The crux of Defendants’ Motion to Dismiss is that Stryker’s Complaint should be

dismissed because Ruggles and Combs are necessary parties to this action, both because their

employment agreements will be examined as part of this proceeding, and because Stryker seeks

to enjoin Defendants as well as Ruggles and Combs from competing with Stryker in their former

territory. In doing so, Defendants conflate the relief sought in Stryker’s Complaint with the relief

sought in Stryker’s Emergency Motion for a Temporary Restraining Order (Dkt. 3), which was

resolved by the parties’ agreement to an Order granting injunctive relief. (Dkt. 15.) The only

pleading properly considered under Defendants’ Rule 12 Motion is Stryker’s Complaint, which

does not seek any relief - injunctive or otherwise - specifically from Ruggles or Combs. (Dkt. 1

at pp. 24-25.) The only applicable authority offered by Defendants in support of their argument

that this case cannot proceed without Ruggles or Combs as parties is a single case from the

District of Rhode Island which, as shown below, was incorrectly decided. No less an authority

than the U.S. Supreme Court has clearly stated that Stryker is not required to include Ruggles or

Combs in its Complaint against Defendants, which consists entirely of claims based in tort.

Accordingly, Defendants’ Motion should be denied. Alternatively, if the Court believes Ruggles

and Combs should be joined to this matter, the Court can so order and they will be joined.

                                        II. ARGUMENT

       A. Neither Ruggles or Combs are Necessary Parties to this Action.

       There is no authority in this Circuit holding that a party to a contract must be named as a

defendant in a lawsuit claiming tortious interference with that contract. Instead, the thrust of

Defendants’ Motion rests upon a single case from the District of Rhode Island with only a few

sentences of unpersuasive reasoning. See Unetixs Vascular, Inc. v. CorVascular Diagnostics,

LLC, 2016 WL 6804972, *2, (D. R.I. Nov. 16, 2016). The District Court of Rhode Island’s




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decision is, respectfully, in the extreme minority of decisions, and turned in large part on the fact

that the plaintiff in that action sought a declaratory judgment interpreting the contract at issue in

addition to its tort claims. (Id.)

        The vast majority of courts agree that parties to an agreement in this specific fact pattern

are not ipso facto necessary parties to a lawsuit claiming tortious interference with the

agreement. See, e.g. XPO Logistics, Inc. v. Gallatin, No. 13 C 1163, 2013 WL 3835358, at *3

(N.D. Ill. July 24, 2013) (“Although the existence of a valid and enforceable agreement between

Express–1 and its former employees is a required element of plaintiffs' tortious interference with

contract claim, this alone does not make the former employees necessary parties.”); Salton, Inc.

v. Philips Domestic Appliances & Personal Care B. V., 391 F.3d 871, 880 (7th Cir. 2004) (“Just

as in the closely related case of joint tortfeasors, there is no rule that you cannot sue the interferer

without also suing the party to your contract whom the defendant inveigled into breaking the

contract.”); NGV Gaming, Ltd. v. Upstream Point Molate, LLC, 355 F. Supp. 2d 1061, 1069

(N.D. Cal. 2005) (Native American Tribe which entered into a contract with plaintiff was not a

necessary party in a lawsuit for tortious interference with that contract).

        In a dispute where the State of Arkansas entered into a contract with a charitable

foundation, then claimed that the State of Texas tortiously interfered with that contract, the

Supreme Court rejected the argument that the foundation was an indispensable party to the

lawsuit:

        Texas first argues that the William Buchanan Foundation is an indispensable
        party to the suit. We do not agree. The theory of the complaint is that Texas is
        interfering without legal justification with Arkansas' contract with a third person
        [the Foundation]…. However appropriate it might be to join the Foundation as a
        defendant in the case…the controversy is between Arkansas and Texas—the issue
        being whether Texas is interfering unlawfully with Arkansas' contract.

State of Ark. v. State of Tex., 346 U.S. 368, 369–70 (1953) (internal citations omitted).



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       The relief sought by Stryker’s Complaint is solely directed toward Defendants, not

Ruggles or Combs. The fact that Ruggles’ and Combs’ agreements may need to be interpreted as

part of this dispute does not make them necessary parties because Stryker’s claims are tort

claims. St. Jude Med. S.C., Inc. v. Janssen-Counotte, No. A-14-CA-877-SS, 2014 WL 7237411,

at *8 (W.D. Tex. Dec. 17, 2014) (“While the Court may indeed need to consider Janssen's

contractual obligations, St. Jude S.C.'s lawsuit sounds in tort and is distinct from Janssen's

employment relationship with St. Jude Belgium/Netherlands.”).

       Moreover, contrary to Defendants’ claims, nobody has “den[ied] Ruggles and Combs the

opportunity to protect their interests through the interpretation of their own employment

contracts.” (Motion at p. 7.) If Ruggles and Combs wish to participate in this matter because they

believe it is necessary to protect their interests (even though the Complaint does not seek

monetary or injunctive relief from them), then Ruggles and Combs are free to seek leave to

intervene. But there is simply no applicable case law holding that Stryker needs to name them as

Defendants in order for this case to proceed, and Defendants’ Motion to Dismiss on those

grounds should be denied.

       B. There is No Risk of Inconsistent Rulings in Litigating this Matter Without
          Ruggles and Combs as Defendants.

       Defendants next argue, again without citing any applicable authority, that Ruggles and

Combs are necessary parties because litigating this matter in their absence creates the risk of

“duplicative obligations to be imposed on Defendants.” (Motion at p. 7). In doing so, Defendants

simply assume that Ruggles’ and Combs’ liabilities are those of Defendants, and vice versa.

There is no explanation offered in the Motion as to why, for example, a hypothetical second

lawsuit brought by Stryker against Ruggles and Combs alone would lead to “duplicative

obligations to be imposed on Defendants.” (Id.) A second complaint against Ruggles and Combs



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would seek relief from those two individuals - just as this Complaint only seeks relief from

Defendants. There is no risk of “duplicative obligations” because Defendants are not the same

entities as Ruggles and Combs, and Ruggles and Combs are not the same entities as Defendants.

       The only case cited by Defendants in support of this conclusion, Hood ex rel. Mississippi

v. City of Memphis, Tennessee, concerned a dispute among several cities and states as to the

proportional rights to groundwater in an aquifer which ran across three states - the Fifth Circuit

affirmed that Tennessee was a necessary party to that action because disposing of it would

require the Court to first apportion the amount of water belonging to each state. Hood ex rel.

Mississippi v. City of Memphis, Tenn., 570 F.3d 625, 627 (5th Cir. 2009). That decision clearly

has no application to this dispute - there is no common fund which Defendants, Ruggles, and

Combs all share in which must first be apportioned as part of this lawsuit. Defendants’ Motion

on these grounds should be denied.

       C. This Court Can Afford Complete Relief In the Absence of Ruggles or Combs.

       In arguing that Ruggles and Combs are necessary parties because the Court cannot award

injunctive relief in their absence, Defendants again conflate the relief sought in Stryker’s

Complaint with the injunctive relief (which Defendants agreed to) which was sought in Stryker’s

Emergency Motion for Injunctive Relief. (Motion at p. 8.) Stryker’s Complaint does not seek

injunctive relief from Ruggles or Combs - Defendants’ claim that Stryker’s “requested relief

targets the direct sales activities of [Ruggles and Combs]” is simply false. (Id.) Stryker’s

Complaint only seeks relief from the named Defendants, and asks the Court to Order them to

stop incentivizing and directing Ruggles and Combs to breach their Stryker agreements. (Dkt. 1,

pp. 24-25.) Nothing in Stryker’s Complaint seeks an Order enjoining Ruggles and Combs

themselves from doing anything. While Defendants cite to Power-One, Inc. v. Artesyn




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Technologies, Inc. in support of the argument that an injunction cannot specifically name non-

parties, that Court was considering a Motion for a Preliminary Injunction under Rule 65. Power-

One, Inc. v. Artesyn Techs., Inc., No. CIV. A. 2:05-CV-463, 2008 WL 1746636, at *1 (E.D. Tex.

Apr. 11, 2008), aff'd, 599 F.3d 1343 (Fed. Cir. 2010). That holding is inapplicable because

(1) first and foremost, Defendants already agreed to the injunction which they now complain

should not have been entered and (2) that Motion does not seek the same relief as Stryker’s

Complaint, and the only pleading properly examined in Defendants’ Rule 12 Motion is Stryker’s

Complaint.

       There is similarly nothing offered to explain Defendants’ conclusion that “any injunctive

relief [Stryker] may be awarded against Defendants would inherently require the cooperation of

Ruggles and Combs…” Stryker’s Complaint asks this Court to order Defendants - and

Defendants alone - to refrain from incentivizing or directing Ruggles and Combs to breach their

agreements. Unlike the Poret decision cited by Defendants, where the missing party’s consent

was required to grant injunctive relief, whether Ruggles and Combs choose to “cooperate” with

the relief sought by Stryker scenario is irrelevant. Poret, on Behalf of Poret v. Louisiana High

Sch. Athletic Ass'n, No. CIV. A. 96-1194, 1996 WL 169241, at *3 (E.D. La. Apr. 8, 1996). The

only parties being asked to refrain from doing anything in Stryker’s Complaint are Defendants,

and this Court certainly has the ability to fashion an equitable remedy granting the relief sought

regardless of what Ruggles and Combs choose to do. See Waymo LLC v. Uber Techs., Inc., No.

C 17-00939 WHA, 2017 WL 2123560, at *13 (N.D. Cal. May 15, 2017) (without entering any

injunctive relief directly against a former employee, ordering that individual’s new employer to

remove the employee from “any role or responsibility” related to alleged activity in breach of




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restrictive covenant, and to direct all other employees to cease communications with the former

employee).

       D. Defendants’ Motion to Dismiss Counts II and V of the Complaint Should be
          Denied.

       Finally, Defendants argue that Count II (Tortious Interference with Prospective

Economic Advantage) and Count V (Corporate Raiding) should be dismissed because Texas

does not recognize those causes of action. With regard to Count II, Defendants are simply wrong.

See Lone Star Steel Co. v. Wahl, 636 S.W.2d 217, 219 (Tex. App. 1982) (discussing trial on

claims for “breach of a written employment contract, tortious termination from employment and

tortious interference with prospective economic advantage.”); Dell, Inc. v. This Old Store, Inc.,

No. CIV.A. H-07-0561, 2007 WL 2903845, at *4–5 (S.D. Tex. Oct. 3, 2007) (“Plaintiffs assert

state law causes of action for…tortious interference with prospective economic advantage….

Plaintiffs adequately allege [that state law claim].”)

       With regard to Count V, while there is no direct Texas authority discussing the

independent tort of corporate raiding, other courts have held such a claim to be viable and Texas

courts find the conduct alleged here actionable. See, e.g. Johns-Manville Corp. v. Guardian

Indus. Corp., 586 F. Supp. 1034, 1075 (E.D. Mich. 1983), amended, No. CIV.A. 81-70248, 1984

WL 63627 (E.D. Mich. Apr. 3, 1984), and aff'd, 770 F.2d 178 (Fed. Cir. 1985); Aeroquip Corp.

v. Chunn, 526 F. Supp. 1259, 1260 (M.D. Ala. 1981) (discussing settlement at underlying trial on

claims for “unfair trade practices, infringement of trade secrets, breach of fiduciary duty, and

corporate raiding”). Texas courts expressly recognize the impropriety and illegality of conduct

similar to Defendants’. Under Texas common law, a party that engages in business practices

which are “contrary to honest practice in industrial or commercial matters” or misappropriates a

business opportunity is liable for unfair competition. See O'Grady v. Twentieth Century Fox



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Film Corp., No. 5:02 CV 173, 2003 WL 24174616, at *16 (E.D. Tex. Dec. 19, 2003)

(recognizing liability where plaintiff can establish “Defendants’ acts damaged his ability to

conduct business”); See also, Software Sys., Inc. v. Ajuria, No. 05-99-01338-CV, 2000 Tex. App.

LEXIS 5277 at *21-25 (Tex. App.--Dallas Aug. 9, 2000, no pet.) (finding a material issue of fact

on tortious interference claim brought by employer against competitor that solicited all four

employees working at a particular facility to leave their employment and begin working with the

competitor in another city). Accordingly, Defendants’ Motion to Dismiss on those grounds

should be denied as well.

                                       III. CONCLUSION

       Stryker respectfully requests that this Court enter the proposed Order attached hereto as

Exhibit “A” denying Defendants’ Motion to Dismiss in its entirety, ordering Defendants to

Answer the Complaint within fourteen (14) days, and granting Stryker any other such relief as

this Court deems appropriate.

       Alternatively, if the Court believes there is any deficiency in the Complaint, Stryker

respectfully requests leave to amend and, in particular, if the Court believes Ruggles and Combs

should be joined to this matter, the Court can so order and they will be joined.




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DATED: JUNE 7, 2017                         Respectfully submitted,

                                            HOWMEDICA OSTEONICS CORP.


                                            By: /s/     Jesse M. Coleman_______
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                               CERTIFICATE OF SERVICE


      I hereby certify that a true and correct copy of the foregoing document was
served upon the counsel of record listed below by the Southern District of Texas ECF
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